                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr252

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
HUNG MANH NGUYEN (5)                     )
________________________________________ )


       THIS MATTER is before the Court upon motions of the defendant (Doc. Nos. 161, 162)

seeking the return bond money allegedly paid to the Clerk of Court.

       When the defendant was arrested in this district, he was released on a $50,000 unsecured

bond. (Doc. No. 40: Appearance Bond; Doc. No. 41: Order). There was no money placed on

deposit with the Clerk to guarantee the defendant’s appearance; thus, there is no money to return.

       IT IS, THEREFORE, ORDERED that the motions (Doc. Nos. 161, 162) are DENIED.

       The Clerk is directed a copy of this Order to the defendant, Hung Manh Nguyen,

Northeast Ohio Correctional Center, Correctional Institution, 2240 Hubbard Road, Youngstown,

Ohio 44501.

                                                 Signed: June 28, 2010




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